             Case 2:15-cr-00131-TLN Document 208 Filed 09/08/16 Page 1 of 2



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 4
   Attorney for:
 5 EDGAR HERRERA

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 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-00131 TLN
12                               Plaintiff,              STIPULATION AND ORDER
                                                         CONTINUING JUDGMENT AND
13   v.                                                  SENTENCING
14   EDGAR HERRERA,
15                               Defendant,
16

17                                            STIPULATION
18          Plaintiff, United States of America, by and through its counsel of record, and defendant,
19
     EDGAR HERRERA, by and through his counsel of record, hereby stipulate that judgment and
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     sentencing, currently scheduled for September 15, 2016, may be continued to January 12, 2017, at
21
     9:30 a.m. This request for a continuance is made on the grounds that there are issues related to
22

23 sentencing that remain unresolved and which constitute good cause to change the time limits for

24 sentencing within the meaning of F.R.Crim.P. 32(b)(2). Specifically, the parties need additional

25 time to determine whether there are grounds for a departure from the applicable sentencing guideline

26 range.

27
            The United States Probation Department has been consulted about this continuance and has
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                                                     1
              Case 2:15-cr-00131-TLN Document 208 Filed 09/08/16 Page 2 of 2


     no objection.
 1
            Counsel for the government has reviewed this stipulation and proposed order and has
 2

 3 authorized counsel for EDGAR HERRERA to sign and file it on his behalf.

 4

 5 IT IS SO STIPULATED.

 6
                                           Philip A. Talbert
 7                                         Acting United States Attorney

 8 DATED:            September 7, 2016   By: /s/Samuel Wong
                                            Samuel Wong
 9                                          Assistant United States Attorney

10 DATED:            September 7, 2016      /s/Scott Cameron
                                            Scott Cameron
11                                          Attorney for Edgar Herrera

12

13
                                                ORDER
14

15          IT IS SO ORDERED this 7th day of September, 2016.

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18                                                              Troy L. Nunley
19                                                              United States District Judge

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